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Counsel to the Official Committee of Unsecured Creditors


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION


In re:                                                        Chapter 11

EVENTIDE CREDIT ACQUISITIONS, LLC, 1                          Case No. 20-40349 (ELM)

                            Debtor.


               WITHDRAWAL BY THE OFFICIAL COMMITTEE OF UNSECURED
                      CREDITORS OF MOTION FOR SANCTIONS


          The Official Committee of Unsecured Creditors (the “Committee”) of Eventide Credit

Acquisitions, LLC (“Eventide” or the “Debtor”), by its undersigned counsel, hereby files this

Withdrawal of its Motion for Sanctions for Bad Faith Filing (the “Withdrawal”).

          1.       The Committee filed a Motion for Sanctions for Bad Faith Filing (the “Motion”)

on June 17, 2020 [Docket No. 285]. The Debtor filed an Opposition to the Motion. The Office of



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    The last 4 digits of the Debtor’s tax identification number is 1353.


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the United States Trustee (“UST”) filed a similar motion seeking to review the Debtor’s payments

to professionals under 11 U.S.C. § 329.

         2.       After arm’s-length negotiations between the Debtor, Committee and the UST, the

parties have globally resolved the issues. Specifically, the Debtor agreed to withdraw its appeal

of the Order dismissing the bankruptcy case, the UST agreed to withdraw its motion to review the

Debtor’s payments under 11 U.S.C. § 329, and the Debtor agreed to wire $200,000 to pay for a

portion of the Committee’s allowed professional fees. Collectively, these actions will bring the

Debtor’s bankruptcy case and appeal to an end.

         3.       As of the date of this Withdrawal, the UST filed its withdrawal, the Debtor filed its

dismissal, and the $200,000 wire was received.

         4.       Accordingly, the Committee hereby withdraws its Motion.

Dated: October 15 , 2020                                        COLE SCHOTZ P.C.

                                                        By: /s/ Michael D. Warner
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of October, 2020, a true and correct copy of the
foregoing Withdrawal by the Official Committee of Unsecured Creditors of Motion for Sanctions
was served upon all parties that are registered to receive electronic service through the court’s
CM/ECF notice system in the above case.




                                                   /s/ Michael D. Warner
                                                   Michael D. Warner




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